         Case 1:11-cv-00857-EJD Document 21 Filed 10/25/13 Page 1 of 1




      In The United States Court of Federal Claims
                                           No. 11-857L

                                     (Filed: October 25, 2013)
                                            __________

 TRINCO INVESTMENT COMPANY,
 AND KATHLEEN G. ROSE, TRUSTEE
 OF THE V&M ROSE – MARITAL
 TRUST,

                       Plaintiffs,

        v.

 THE UNITED STATES,

                       Defendant.
                                           __________

                                            ORDER
                                           __________

       A telephonic preliminary status conference will be held in this case on Thursday,
November 7, 2013, at 2:00 p.m. (EST). Chambers will contact the parties shortly before the
scheduled conference time.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
